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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSSETTS


 NORTH AMERICAN CENTER FOR
 CONTINUING MEDICAL EDUCATION,

                 Petitioner,                                  No. _________________
 v.

 THOMAS SERENA, MD.,

                  Respondent.


       NORTH AMERICAN CENTER FOR CONTINUING MEDICAL EDUCATION’S
      PETITION AND MOTION TO ENFORCE ARBITRATION SUBPOENA TO NON-
                         PARTY THOMAS SERENA

        Pursuant to Section 7 of the Federal Arbitration Act (9 U.S.C. § 7) (the “FAA”), North

American Center for Continuing Medical Education (“Petitioner” or “NACCME”), by and through

its undersigned counsel, respectfully petitions this Honorable Court to enforce the arbitration duces

tecum (“Subpoena”) issued to Dr. Thomas Serena (“Respondent” or “Dr. Serena”) by The Hon.

Harriet Derman (ret.), pursuant to her authority as arbitrator in a pending arbitration before the

American Arbitration Association. The Subpoena instructs Dr. Serena, who is not a party to the

arbitration, to appear for an arbitral hearing in Boston, Massachusetts and there produce the

documents and data requested by the Subpoena, as permitted by the FAA. In response to our

inquiry whether Dr. Serena would comply with the subpoena, Dr. Serena’s Counsel filed a Motion

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to Enforce the Stay in Philadelphia, Pennsylvania the Court of Common Pleas to modify the

subpoena, in effect, Dr. Serena has refused to comply without an order from this Court enforcing

the subpoena.

                                         INTRODUCTION

       1.       On April 22, 2022, NACCME served non-party Dr. Serena with the Subpoena
issued by The Honorable Harriet Derman (ret.) in a pending proceeding (the “Arbitration”),
requiring Dr. Serena’s attendance and further requiring Dr. Serena to produce documents and data
at an arbitration hearing in Boston, Massachusetts. See Exhibit A and Exhibit B.
       2.       This Subpoena was issued by Judge Derman (ret.) pursuant to its authority under
the FAA, 9 U.S.C. § 7, and was narrowly tailored to NACCME’s needs in the Arbitration. See
Exhibit A. Nonetheless, Dr. Serena has refused to comply with the Subpoena absent an order from
this Court.
       3.       NACCME respectfully requests that this Court enter an order directing Dr. Serena
to attend an arbitration deposition in Boston, Massachusetts and further to produce the documents
and data responsive to the Subpoena.

                                           PARTIES

       4.       Petitioner NACCME is a provider of continuing medical education accredited by
the Accreditation Council for Continuing Medical Education (“ACCME”), the Accreditation
Council for Pharmacy Education (“ACPE”) and the American Nurses Credentialing Center
(“ANCC”) to provide continuing education for the healthcare team. NACCME is also accredited
by the Council on Podiatric Medical Education, the American Psychological Association and the
Commission on Dietetic Registration. As an accredited provider, NACCME strictly adheres to
the AACME standards for Commercial Support and other relevant guidelines to insurance the
independence of continuing medical education (“CME”) and continuing education (“CE”)
activities. All of NACCME provided CME/CE activities are objective, balanced, scientifically
rigorous, and free of commercial bias.
       5.       Respondent Thomas Serena, MD, is a male individual residing at 9 Cross Bow
Lane, Norwell, MA 02061, who was President of the Association for the Advancement of Wound
Care (“AAWC”) during 2016 to 2020. Additionally, Dr. Serena is employed by SerenaGroup,

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Inc. where he is the CEO and Medical Director which has an address of 125 Cambridge Park Drive,
Suite 301 Cambridge, MA 02140.

                ADDITIONAL PARTIES TO UNDERLYING ARBITRATION

        6.       AAWC is a nonprofit medical association with a focus in interdisciplinary wound
care organization with a mission to advance the care of people with and at risk for wounds, with a
principal place of business at 19 Mantua Road, Mt. Royal, NJ 08061. Defendant AAWC is medical
association.

                                    JURISDICTION AND VENUE

        7.       This is a proceeding to enforce an arbitration subpoena arising under Section 7 of
the FAA, 9 U.S.C. § 7.
        8.       This Court has personal jurisdiction over Dr. Serena in this action, as Dr. Serena
resides at 9 Cross Bow Lane, Norwell, MA 02061, located in the District of Massachusetts and he
is employed as the CEO and Medical Director of SerenaGroup, Inc. and regularly transacts
business in person with same which is located at 125 Cambridge Park Drive, Suite 301 Cambridge,
MA 02140.
        9.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
1332 because the parties to both this action and the Arbitration are citizens of different states and
the amount in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.
        10.      Venue is appropriate in this judicial district pursuant to 9 U.S.C. § 7, as Dr. Serena
has refused and neglected to obey a subpoena issued by the arbitrator The Honorable Harriet
Derman (ret.) requiring attendance and the production of documents and data at a hearing before
the arbitrator sitting in this judicial district.

                        FACTUAL AND PROCEDURAL BACKGROUND

        11.      NACCME and AAWC had a decades long business relationship through which
they held multiple conventions and meetings, including the Symposium on Advanced Wound Care
(“SAWC”).
        12.      In holding these meetings, NACCME and AAWC had a Sponsorship Agreement
which detailed the working relationship of the parties.



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       13.     A Non-Compete provision was included in the Sponsorship Agreement in the event
that the parties’ business relationship ceased.
       14.     In October 2018, the business relationship between NACCME and AAWC was
dissolved as a result of the actions of AAWC and Dr. Serena.
       15.     In August 2021, NACCME filed an Arbitration against AAWC as a result of
AAWC’s breach of the Sponsorship Agreement following the dissolution of the business
relationship. Specifically, following the dissolution of the business relationship, AAWC, including
through the actions of Dr. Serena as President of AAWC in 2018, breached the Non-Compete
Agreement by working with multiple competitors of NACCME to hold competing wound care
conference, meetings and symposiums.
       16.     Furthermore, during the dissolution of the business relationship, Dr. Serena, while
acting as President of AAWC, made multiple defamatory statements regarding NACCME,
including making defamatory and false statements to members of the wound care community.
       17.     Petitioner was required to arbitrate its claims against AAWC separately from its
claim against Dr. Serena pursuant to a Court Order entered by the Philadelphia County Court of
Common Pleas on July 14, 2020. See Exhibit E.
       18.     More specifically, this Court Order was issued in response to Preliminary
Objections by AAWC, whose counsel similarly represented Dr. Serena in his capacity as President
of AAWC at that time. See Exhibit H.
       19.     Despite the fact that Petitioner was pushed to separate its claims against AAWC
and Dr. Serena individually by Dr. Serena’s counsel at that time, and the fact that the very same
counsel agreed to provide Dr. Serena for a deposition in the arbitration, Dr. Serena now attempts
to argue that he cannot provide witness testimony because he succeeded in having such claims
separated. See Exhibit F.
       20.     Instead, mere months before he was to give deposition testimony while a member
of the AAWC Executive Board, Dr. Serena decided to resign from his position in hopes that he
could renege on the above agreement to sit for a deposition and bolster his inexplicable argument
that he should not be required to give testimony regarding multiple critical elements and events
related to Petitioner’s claims against AAWC.




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         21.      As a result of this about face by Dr. Serena, Petitioner was forced to serve an
arbitration subpoena to Dr. Serena, however Dr. Serena chose to instruct his personal counsel that
they could not accept service on his behalf. See Exhibit C.
         22.      Then, upon information and belief, Dr. Serena successfully avoided multiple
attempts at service of the Subpoena for approximately four months, with Petitioner only finally
achieving service by having Dr. Serena served after engaging multiple process servers and a
private investigator. See Exhibit B.1
         23.      Now that Petitioner has finally succeeded in serving Dr. Serena, after months and
significant fees were expended, Petitioner now seeks via subpoena documents and testimony from
Dr. Serena pertaining to his actions and knowledge related to the actions of AAWC under his
leadership, as well as his actions in his capacity as President of AAWC alleged in the Arbitration
Complaint.

                  THE SUBPOENA TO NON-PARTY DR. THOMAS SERENA

         24.      On February 14, 2022, The Hon. Harriet Derman (ret.), pursuant to their authority
under 9 U.S.C. § 7, issued a subpoena to Dr. Serena commanding his appearance before her Honor
at the office of Melick & Porter, LLP, One Liberty Square, Boston, Massachusetts 02109, on the
29th day of April, 2022, at 10:00 A.M to testify, give evidence, and produce specified categories
of documents and data. See Exhibit I.
         25.      In addition to the testimony sought, the documents and data sought by the
Subpoena, including Dr. Serena’s communications while President of AAWC pertaining to the
dissolution of the business relationship between NACCME and AAWC and those pertaining to
AAWC involvement in the competing events and conferences in violation of the non-compete
clause of the Sponsorship Agreement, are relevant and material to both the alleged breaches of the
non-compete clause of the Sponsorship Agreement by AAWC as well as the specific damages
suffered by NACCME in the Arbitration matter.
         26.      On February 16, 2022, undersigned counsel requested by e-mail that Dr. Serena’s
legal counsel, Allison J. Beatty, Esq., an attorney at Winget, Spadafora, Schwartzberg LLP, accept

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 NACCME filed an underlying matter in the Philadelphia Court of Common Pleas of Pennsylvania against AAWC,
APWCA, and Dr. Serena. AAWC and Dr. Serena filed to dismiss the Complaint and or alternatively move the
matter to arbitration. The Court overruled a majority of the Preliminary Objections, but dismissed the claims against
AAWC to arbitration and stayed the claims against APWCA and Dr. Serena who were not parties to the Sponsorship
Agreement. Exhibit E.

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service of the Subpoena. On February 21, 2022, Ms. Beatty stated that she would not accept service
on Dr. Serena’s behalf. See Exhibit C.
       27.     Undersigned counsel then spent approximately four months attempting to serve Dr.
Serena with the Subpoena utilizing multiple process servers and a private investigator.
       28.     On April 19, 2022, The Hon. Harriet Derman (ret.), pursuant to her authority under
9 U.S.C. § 7, issued a second subpoena (“the Subpoena”) to Dr. Serena commanding his
appearance before her Honor at the office of Melick & Porter, LLP, One Liberty Square, Boston,
Massachusetts 02109, on the 24th day of June, 2022, at 10:00 A.M to testify, give evidence, and
produce specified categories of documents and data. See Exhibit A.
       29.      Dr. Serena was personally served on April 22, 2022. See Exhibit B.
       30.     The Subpoena directed to and served on Dr. Serena complied with Rule 45 of the
Federal Rules of Civil Procedure, which allows a subpoena to command attendance at a hearing
“within 100 miles of where the person resides, is employed, or regularly transacts business in
person”, Fed. R. Civ. P. 45(c)(1)(A), and to produce documents subject to the same geographical
limit, Fed. R. Civ. P. 45(c)(2)(A).
       31.     Dr. Serena has categorically refused to produce any documents or information in
response to the Subpoena issued by Judge Derman (ret.), despite the fact that the undersigned
counsel has worked in good faith to attain such information at the express direction of Judge
Derman (ret.). See Exhibit D.
       32.     In fact, Petitioner even identified specific paragraphs of the Philadelphia Complaint
relating to the defamation count and the defamatory email by Dr. Serena as items that they would
not ask questions about at the deposition, thereby alleviating Dr. Serena’s concern that he would
be required to testify regarding claims against him in the stayed Philadelphia Court matter. See
Exhibit D.
       33.     Despite this fact, and the admission of AAWC that it “believes that Dr. Serena has
information relevant to the pending Arbitration and very much wishes to obtain his deposition
testimony”, Dr. Serena refused to agree to any reasonable scope for his deposition. See Exhibit D.
       34.     In response to this continued unreasonable posturing by Dr. Serena, Judge Derman
(ret.) requested a conference call with counsel on February 1, 2022 in which Ms. Beatty was to
explain to Judge Derman (ret.) why the subpoena is improper and to specifically cite to such
authorities supporting this contention by the end of the day of January 26, 2022. See Exhibit D.

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       35.     Not only did Ms. Beatty fail to make such citations, she further failed to appear for
the conference call with Judge Derman (ret.) on February 1, 2022.
       36.     Rather than attempt to explain their objections to Judge Derman (ret.), the person
with authority to handle issues of scope and materiality of the Subpoena, Dr. Serena and his
counsel decided to instead file a Motion to Enforce the Stay Order with Philadelphia County on
May 4, 2022.
       37.     Dr. Serena has now attempted to avoid his duties under this lawful subpoena and
instead appeal to a forum which has no jurisdiction over the Subpoena.
       38.     Absent an order by this Court, Dr. Serena’s refusal to provide testimony and
produce documents and data responsive to the Subpoena will undoubtedly cause extreme prejudice
to NACCME and have a substantial impact on NACCME’s ability to recover on its claims against
AAWC.

          THE SUBPOENA IS VALID AND ENFORCEABLE UNDER THE FAA

       39.     The Subpoena complies with the requirements of the FAA and is valid and
enforceable. Section 7 of the FAA authorizes arbitrators to “summon in writing any person to
attend before them or any of them as a witness and in a proper case to bring with him or them any
book, record, document, or paper which may be deemed material as evidence in the case.” 9 U.S.C.
§ 7.
       40.     The subpoena must be “served in the same manner as subpoenas to appear and
testify before the court.” Id.
       41.     The Subpoena requires Dr. Serena to “appear and attend as a witness at a hearing
before the arbitrator in the above-referenced arbitration, The Hon. Harriet Derman, at the office of
Melick & Porter, LLP, One Liberty Square, Boston, Massachusetts 02109, on the 24th day of June,
2022, at 10:00 A.M. Eastern time to testify and give evidence in the arbitration, then and there to
be held between the above entitled parties, and that you bring with you and produce certain
documents now in your custody”, after which the narrow set of documents requested were
specifically set forth. Exhibit A, Subpoena
       42.     This hearing is indisputably the exact form of hearing set forth by Section 7 of the
FAA, which allows arbitrators to issue subpoenas on third parties for their testimony and for the
production of their documents at hearings.


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       43.     Courts repeatedly have found this to include hearings held prior to the final merits
hearing. Life Receivables Tr. v. Syndicate 102 at Lloyd’s of London, 549 F.3d 210, 218 (2d Cir.
2008) (“[S]ection 7 authority is not limited to witnesses at merits hearings, but extends to hearings
covering a variety of preliminary matters.”); Stolt-Nielsen SA v. Celanese AG, 430 F.3d 567, 578
(2d Cir. 2005) (“[T]he mere fact that the session before the arbitration panel . . . was preliminary
to later hearings that the panel intended to hold does not transform the [preliminary] hearing into
a discovery device.”); Hay Group, 360 F.3d at 413 (Chertoff, J., concurring) (observing that the
FAA grants arbitrators the power to compel a third party witness to appear with documents before
an arbitrator “who can then adjourn the proceedings”); see also Wash. Nat’l Ins. Co. v. Obex Grp.
LLC, No.18 CV 9693 (VB), 2019 WL 266681 (S.D.N.Y. Jan. 18, 2019) (enforcing third-party
arbitration subpoena to provide testimony and documents at hearing specifically for that purpose);
Me. Cmty. Health Options v. Walgreen Co., No. 18-MC-0009, 2018 WL 669042 (W.D. Wis. Dec.
20, 2018) (same); Seaton Ins. Co. v. Cavell USA, No. 3:07-CV-356 (AHN), 2007 WL 9657277,
at *2 (D. Conn. Mar. 21, 2007) (same). Indeed,“[n]othing in the language of the FAA limits the
point in time in the arbitration process when [the subpoena] power can be invoked or says that the
arbitrators may only invoke this power under section 7 at the time of the trial-like final hearing.”
Stolt-Nielsen, 430 F.3d at 578.
       44.     The Subpoena served on Dr. Serena thus satisfies the requirements set forth in the
FAA.
       45.     Because the Subpoena is valid and enforceable under the FAA, this Court should
compel Dr. Serena’s attendance at the hearing and compel Dr. Serena to produce the documents
and data required by the Subpoena.

          THE COURT HAS JURISDICTION TO ENFORCE THE SUBPOENA

       46.     This Court is authorized pursuant to Section 7 of the FAA to enforce the Subpoena
issued by The Hon. Harriet Derman (ret.). Section 7 of the FAA authorizes arbitrators to “summon
in writing any person to attend before them or any of them as a witness and in a proper case to
bring with him or them any book, record, document, or paper which may be deemed material as
evidence in the case.” 9 U.S.C. § 7.
Section 7 further provides:
   [I]f any person or persons so summoned to testify shall refuse or neglect to obey said summons,
   upon petition the United States district court for the district in which such arbitrators, or a

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   majority of them, are sitting may compel the attendance of such person or persons before said
   arbitrator or arbitrators, or punish said person or persons for contempt in the same manner
   provided by law for securing the attendance of witnesses or their punishment for neglect or
   refusal to attend in the courts of the United States.

   Id.
         47.      Consistent with Section 7, the Subpoena summoned Dr. Serena to appear before
the arbitrator physically sitting for a hearing in Boston, Massachusetts, which is located within the
district for the United States District Court for the District of Massachusetts. Me. Cmty. Health
Options v. CVS Pharmacy, Inc., No. 20-10JJM, 2020 U.S. Dist. LEXIS 40313, at *7 (D.R.I. Mar.
9, 2020) (enforcing arbitration subpoena summoning third-party to appear at hearing where
majority of arbitrators were physically sitting as well as granting subpoena duces tecum of
documents); Hay Group, Inc. v. E.B.S. Acquisition Corp., 360 F.3d 404, 407 (3d. Cir. 2004)
(Section 7 permits subpoenas in which “the non-party has been called to appear in the physical
presence of the arbitrator and to hand over the documents at that time”).
         48.      Moreover, this Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. § 1332 based on the diversity of the parties to the above-captioned action. It is beyond
dispute that there is complete diversity and the amount in controversy exceeds $75,000. See 28
U.S.C. § 1332.
               a. NACCME is a New Jersey corporation with a principal place of business at 104
                  Windsor Center Drive, Suite 200, East Windsor NJ 08520.
               b. Dr. Serena is an individual that resides at 9 Cross Bow Lane, Norwell, MA 02061,
                  located in the District of Massachusetts. In addition, he is employed and regularly
                  transacts business at Serena Group, Inc. located at 125 Cambridge Park Drive, Suite
                  301 Cambridge, MA 02140 where he is the CEO and Medical Director.
         49.      Significantly, a district court in the First Circuit already has determined that it has
subject matter jurisdiction over a subpoena enforcement dispute arising from the same underlying
arbitration when the petitioner seeks to enforce a subpoena against a non-party from whom they
are diverse. Me. Cmty. Health Options v. CVS Pharmacy, Inc., No. 20-10JJM, 2020 U.S. Dist.
LEXIS 40313, at *4 (D.R.I. Mar. 9, 2020) (the citizenship of the Petitioner and non-party
Respondent were those relevant for diversity).




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  DR. SERENA’S OBJECTIONS AS TO RELEVANCE, VAGUENESS, AND BURDEN
 ARE FOR THE ARBITRATOR TO CONSIDER AND ARE NOT PROPER GROUNDS
               TO DENY ENFORCEMENT OF THIS SUBPOENA

       50.     Dr. Serena’s broad objections to the Subpoena are irrelevant to the question of
enforceability and instead are properly reserved for Judge Derman (ret.) as Arbitrator. Me. Cmty.
Health Options v. CVS Pharmacy, Inc., No. 20-10JJM, 2020 U.S. Dist. LEXIS 40313, at *7 (D.R.I.
Mar. 9, 2020) (citing In re Sec. Life Ins. Co. of Am., 228 F.3d 865, 871 (8th Cir. 2000)) (courts
uniformly construe the FAA as empowering the arbitration panel — and not the courts — to assess
what is material to the arbitration dispute).
       51.     More specifically, courts have held that each of Dr. Serena’s objections—generally
to scope, relevance, and burden—are issues properly before the arbitrator, not the Court. See, e.g.,
Me. Cmty. Health Options v. CVS Pharmacy, Inc., No. 20-10JJM, 2020 U.S. Dist. LEXIS 40313,
at *11 (D.R.I. Mar. 9, 2020) (“the court's traditional relevancy determination based on Fed. R. Civ.
P. 26(b)(1) is set aside in favor of the arbitration panel's determination of materiality.”); Me. Cmty.
Health Options, 2018 WL 6696042, at *5 (“Walgreens argues that the subpoenaed data is overly
broad because it seeks information about customers unrelated to the case, but this goes to
materiality, which is a matter for the arbitration panel.”).
       52.     Even ignoring the arbitrator’s authority in determining materiality, Respondent’s
Objections are without merit. As a general matter, the Subpoena is narrowly tailored to seek
documents and data necessary for NACCME to prove liability and damages, while minimizing the
burden on Dr. Serena and requesting specific information that Dr. Serena is readily able to identify
and produce.
       53.     Specifically, NACCME seeks only those relevant documents and communications
from January 1, 2018 to present of Dr. Serena in his capacity as an agent for AAWC. These
communications are both time-limited, in that Dr. Serena’s communications during the years from
2016 to 2018 are not requested, as well as limited in scope as to those only pertaining to the
Sponsorship Agreement between NACCME and AAWC, and the alleged violations of the non-
compete clause located within same.
       54.     The communications of a President and a Board Member of AAWC during the time
in which NACCME alleges that AAWC breached the Sponsorship Agreement between the parties
is directly relevant to the Arbitration Matter.


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        55.     Dr. Serena was the President and a Board Member of AAWC, was the critical
decision maker for AAWC, and holds material information related to all actions of AAWC during
the relevant time period.
        56.     Dr. Serena was the President and a Board Member of AAWC during the relevant
time period and was directly involved in the contractual relationship between AAWC and
NACCME to end after decades of working together.
        57.     Dr. Serena was the individual actor who communicated the defamatory statements
on behalf of AAWC after stating that he speaks “for the board” of AAWC. See Exhibit G.
        58.     Dr. Serena was the President and/or a Board Member of AAWC during the multiple
breaches of the Non-Compete by AAWC.
        59.     Dr. Serena possesses material information related to all actions of AAWC relevant
to this arbitration, there was an agreement in October 2021 for his deposition and allowing him to
simply quit his organization to prevent himself from being deposed as Dr. Serena has done,
completely and utterly frustrates the purpose of arbitration.


WHEREFORE, Petitioner respectfully requests that this Court enter an Order:

        A. Compelling compliance with the arbitration Subpoena, as provided by 9 U.S.C. 7; and

        B. Granting such other and further relief as may be appropriate.



                                                      MARGOLIS EDELSTEIN

                                              BY: _/s/ Gary R. Owens                      ______
                                                      GARY R. OWENS, ESQUIRE
                                                      Attorney for the Petitioner

Date:    May 24, 2022




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